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             ORAL ARGUMENT NOT YET SCHEDULED
                        No. 25-1004

           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT


UNITED STATES STEEL CORPORATION; NIPPON STEEL NORTH
     AMERICA, INC.; and NIPPON STEEL CORPORATION,

                                            Petitioners,

                                       v.

 THE COMMITTEE ON FOREIGN INVESTMENT IN THE UNITED
                   STATES, ET AL.,

                                            Respondents.


    On Petition for Review of Actions of President Biden and of the
       Committee on Foreign Investment in the United States

           JOINT STIPULATION TO DISMISS APPEAL


     The undersigned hereby stipulate that the above-captioned appeal

is voluntarily dismissed pursuant to Federal Rule of Appellate Procedure

42(b)(1). The parties further stipulate and agree that each party shall

bear its own costs. No fees are due.
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Dated: June 20, 2025                   Respectfully submitted.

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                     CERTIFICATE OF SERVICE

     I hereby certify that on June 20, 2025, I filed the foregoing with the

Clerk of the Court for the United States Court of Appeals for the District

of Columbia Circuit by using the CM/ECF system which will serve all

counsel of record.

                                     /s/ Andrew J. Pincus
                                        Andrew J. Pincus
